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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES -- GENERAL

Case No.      CV 22-4355-JFW(JEMx)                                        Dated: February 23, 2023

Title:        Yuga Labs, Inc. -v- Ripps, et al.

PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Shannon Reilly                                None Present
              Courtroom Deputy                              Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                   ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                None

PROCEEDINGS (IN CHAMBERS):                ORDER TAKING UNDER SUBMISSION PLAINTIFF
                                          YUGA LABS, INC.'S SPECIAL MOTION TO STRIKE
                                          COUNTERCLAIMS; PLAINTIFF YUGA LABS, INC..'S
                                          MOTION TO DISMISS COUNTERCLAIMS [filed 1/18/23;
                                          Docket No. 89]

        Plaintiff's Special Motion to Strike Counterclaims and Motion to Dismiss Counterclaims are
currently on calendar for February 27, 2023, at 1:30 p.m. Pursuant to Rule 78 of the Federal Rules
of Civil Procedure and Local Rule 7-15, the Court finds that this matter is appropriate for decision
without oral argument. The hearing calendared for February 23, 2023 is hereby vacated and the
matter is taken off calendar. The matter will be deemed submitted on the vacated hearing date
and the clerk will notify the parties when the Court has reached a decision.

         IT IS SO ORDERED.




                                                                               Initials of Deputy Clerk sr
